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UN|TED STATES DlSTRiCT COURT
DlSTRlCT OF CONNECT|CUT

 

Thomas Turmelle, Civi| Action No.:
P|aintiff,
v.

P|aza Associates; and COMPLNNT

DOES 1-10, inciusive, .
f october a, 2010

Defendants.

 

For this Comp|aint, the Plaintiff, Thomas Turmelie, by undersigned

counsel, states as follows:

M`B_QN_

1. 'l‘his action arises out of Defendants’ repeated violations of the Fair
Debt Cotlection Practices Act, 15 U.S.C. § 1692, et seq. (“FDCPA”), and the
invasions of P|aintiff’s personal privacy by the Defenclants and their agents in
their illegal efforts to collect a consumer debt.

2. Supplementa| jurisdiction exists pursuant to 28 U.S.C. § 1367.

3. Venue is proper in this District pursuant to 28 U.S.C. § 1391(b), in
that the Defendants transact business in this District and a substantial portion of

the acts giving rise to this action occurred in this District.

PART|ES

4. The Plaintiff, Thomas Turmeile ("P|aintiff”), is an adult individual

residing in Farmington, Connectlcut, and is a “consumei'” as the term is defined

by 15 U.S.C. § 16923(3).

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5. Defendant P|aza Associates (“Piaza”), is a New York business entity
with an address of Corporate Headquarters, 370 Seventh Avenue, Suite
1200/1500, New York, New York 10001, operating as a collection agency, and is a
“debt co|iector” as the term is defined by 15 U.S.C. § 1692a(6).

6. Does 1-10 (the “Collectors”) are individual collectors employed by
P|aza and whose identities are currently unknown to the P|aintiff. One or more of
the Coliectors may be joined as parties once their identities are disclosed
through discovery.

7. Piaza at ail times acted by and through one or more of the Coiiectors.

ALLEGATIONS APPL|CABLE TO ALL COUNTS
A. The Debt

8. The Plaintiff incurred a financiai obligation (the “Debt") to a creditor
(the “Creditor").

9. The Debt arose from services provided by the Creditor which were
primarily for family, personal or household purposes and which meets the
definition of a “debt” under 15 U.S.C. § 1692a(5).

10. The Debt was purchased, assigned or transferred to P|aza for
collection, or P|aza was employed by the Creditor to collect the Debt.

11. The Defendants attempted to collect the Debt and, as such, engaged

in “communications" as defined in 15 U.S.C. § 1692a(2).
B. P|aza Engaqes in Harassment and Abusive Tactics

12. The Defendants cailed the Plaintiff in an attempt to coilect the debt

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with the intent to annoy and harass.

13. The Defendants contacted the Plaintiff’s father and disclosed that the
Plaintiff owed debt.

14. The Defendants continued contacting the Plaintiff despite having
been informed that the Plaintiff was being represented by an attorney.

15. The Defendants faiied to inform the Plaintiff of his rights under the
state and federal iaws by written correspondence within 5 days after the initial

communication, inciuding the right to dispute the Debt.
C. Plaintiff Suffered Actual Damaggs_

16. The Plaintiff has suffered and continues to suffer actual damages as
a result of the Defendants’ unlawful conductl

17. As a direct consequence of the Defendants’ acts, practices and
conduct, the Piaintiff suffered and continues to suffer from humiliation, anger,
anxiety, emotional distress, fear, frustration and embarrassment

18. The Defendants’ conduct was so outrageous in character, and so
extreme in degree, as to go beyond all possible bounds of decency, and to be

regarded as atrocious, and utterly intolerable in a civilized community.

COUNT i
V|OLAT|ONS OF THE£JCPA 15 U.S.C. § 1692, et seq.
19. The Plaintiff incorporates by reference ail of the above paragraphs of
this Comp|aint as though fuiiy stated herein.

20. The Defendants’ conduct violated 15 U.S.C. § 1692b(2) in that

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Defendants informed third parties of the nature of P|aintiff’s debt and stated that
the Plaintiff owed a debt.

21. The Defendants’ conduct vioiated 15 U.S.C. § 1692c(a)(2) in that
Defendants contacted the Plaintiff after having knowledge that the Plaintiff was
represented by an attorney.

22. The Defendants’ conduct violated 15 U.S.C. § 1692c(b) in that
Defendants communicated with individuais other than the Plaintiff, the Plaintiff’s
attorney, or a credit bureau.

23. The Defendants’ conduct violated 15 U.S.C. § 1692d(5) in that
Defendants caused a phone to ring repeatedly and engaged the Plaintiff in
telephone conversations, with the intent to annoy and harass.

24. The Defendants’ conduct violated 15 U.S.C. § 1692e(10) in that
Defendants empioyed false and deceptive means to collect a debt.

25. The Defendants’ conduct violated 15 U.S.C. § 1692g(a)(1) in that
Defendants failed to send the Plaintiff a validation notice stating the amount of
the Debt.

26. The Defendants’ conduct vioiated 15 U.S.C. § 16929(a)(2) in that
Defendants failed to send the Plaintiff a validation notice stating the name of the
original creditor to whom the Debt was owed.

27. The Defendants’ conduct violated 15 U.S.C. § 1692g(a)(3) in that
Defendants faiied to send the Plaintiff a vaiidation notice stating the P|aintiff’s
right to dispute the Debt within thirty days.

28. The Defendants’ conduct vioiated 15 U.S.C. § 16929(a)(4) in that

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Defendants failed to send the Plaintiff a validation notice informing the Plaintiff of
a right to have verification and judgment mailed to the Plaintiff.

29. 'i'he Defendants’ conduct vioiated 15 U.S.C. § 1692g(a)(5) in that
Defendants faiied to send the Piaintiff a validation notice containing the name and
address of the original creditor.

30. The foregoing acts and omissions of the Defendants constitute
numerous and multiple violations of the FDCPA, including every one of the
above-cited provisions.

31. The Plaintiff is entitied to damages as a result of Defendants’

violations.

COUNT l|
|NVA§|ON OF PR|VACY §Y lNTRUSiON UPON SECLUSION

32. The Plaintiff incorporates by reference ail of the above paragraphs of
this Comp|aint as though fully stated herein.

33. The Restatement of Torts, Second, § 652(b) defines intrusion upon
seclusion as, “One who intentionally intrudes...upon the solitude or seclusion of
another, or his private affairs or concerns, is subject to iiabiiity to the other for
invasion of privacy, if the intrusion would be highly offensive to a reasonable
person."

34. Connecticut further recognizes the Plaintiff’s right to be free from
invasions of privacy, thus the Defendants violated Connecticut state law.

35. The telephone calls made by the Defendants to the P|aintiffs were so

persistent and repeated with such frequency as to be considered, “hounding the

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plaintiff,” and, “a substantial burden to her existence,” thus satisfying the
Restatement of Torts, Second, § 652(b) requirement for an invasion of privacy,

36. The conduct of the Defendants in engaging in the illegal collection
activities resulted in multiple invasions of privacy in such a way as would be
considered highly offensive to a reasonable person.

37. As a result of the intrusions and invasions, the Plaintiff is entitled to
actual damages in an amount to be determined at trial from the Defendants.

38. Ail acts of the Defendants and its agents were committed with
malice, intent, wantonness, and recklessness, and as such, the Defendants is

subject to punitive damages.

COUNT |ii

ViOLATlONS OF THE CONNECTlCUT UNFAlR TRAQ_§ PR_ACT|C§S ACT.
Conn. Gen. Stat. § 42-110a, et seq.

39. The Plaintiff incorporates by reference ail of the above paragraphs of
this Comp|aint as though fuin stated herein.

40. The Defendants are each individually a “person” as defined by Conn.
Gen. Stat. § 42-110a(3).

41. The Defendants engaged in unfair and deceptive acts and practices
in the conduct of its trade, in vioiation of Conn. Gen. Stat. § 42-110b(a).

42. The Piaintiff is entitled to damages as a result of the Defendants’

vioiations.

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COUNT lV
iNT§NTiONAl= lNFLlCT|ON OF ElVlOT|ONAL DISTRESS

43. The Plaintiff incorporates by reference all of the above paragraphs of
this Comp|aint as though fully set forth herein at length.

44. The acts, practices and conduct engaged in by the Defendants vis-a-
vis the Plaintiff was so outrageous in character, and so extreme in degree, as to
go beyond ali possible bounds of decency, and to be regarded as atrociou"s, and
utterly intolerable in a civilized community.

45. The foregoing conduct constitutes the tort of intentional infliction of
emotional distress under the laws of the State of Connecticut.

46. A|l acts of the Defendants and the Coliectors complained of herein
were committed with malice, intent, wantonness, and recklessness, and as such,

the Defendants are subject to imposition of punitive damages.

COUNT V
CON|NION LAW FRAUD

47. The Plaintiff incorporates by reference all of the above paragraphs of
this Comp|aint as though fully stated herein.

48. The acts, practices and conduct engaged in by the Defendants and
complained of herein constitute fraud under the Common Law of the State of
Connecticut.

49. The Plaintiff has suffered and continues to suffer actuai damages as
a result of the foregoing acts and practices, including damages associated with,

among other things, humiliation, anger, anxiety, emotional distress, fear,

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frustration and embarrassment caused by the Defendants. Al| acts of the
Defendants and the Co|lectors complained of herein were committed with malice,
intent, wantonness, and recklessness, and as such, the Defendants are subject to

punitive damages.

PRAYER FOR REL|EF
WHEREFORE, the Plaintiff prays that judgment be entered against the

Defendants:

1. Actual damages pursuant to 15 U.S.C. § 1692k(a)(1) against the
Defendants;

2. Statutory damages of $1,000.00 pursuant to 15 U.S.C.
§1692k(a)(2)(A) against the Defendants;

3. Costs of litigation and reasonable attorney’s fees pursuant to 15
U.S.C. § 1692k(a)(3) against the Defendants;

4. Actual damages pursuant to Conn. Gen. Stat. § 42-1109;

5. Actual damages from the Defendants for the all damages
including emotional distress suffered as a result of the
intentional, reckless, andlor negligent FDCPA violations and
intentionai, reckless, andlor negiigent invasions of privacy in an
amount to be determined at trial for the Plaintiff;

6. Punitive damages; and

7. Such other and further relief as may be just and proper.

TR|AL BY JURY DEN|ANDED ON ALL COUNTS

Dated: October 8, 2010

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ER & ASSOC|ATES L.L.C.
1100 mmer Street, 3rd Floor
Stamford, CT 06905

Te|ephone: (203) 653-2250
Facsimi|e: (877) 795-3666
Attorney for Plaintiff

